              Case 2:22-cv-00344-BJR Document 93-1 Filed 06/06/22 Page 1 of 2

                                                          The Honorable Barbara J. Rothstein


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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8      THROUGHPUTER, INC.,
                                                     No. 2:22-cv-00344-BJR
 9                      Plaintiff,
                                v.                   JOINT PROPOSED CASE SCHEDULE
10
        MICROSOFT CORPORATION,
11
                        Defendant.
12
               Event                                 Dates
13             Joint Status Report and Rule 26(f)    June 15, 2022
               Discovery Plan
14             Disclosure of Asserted Claims         July 20, 2022
               Non-infringement and Invalidity       September 21, 2022
15             Contentions
               Proposed Terms of Construction        October 11, 2022
16
               Preliminary Claim Construction        November 14, 2022
               Joint Claim Construction              December 21, 2022
17
               Construction Expert Disclosures       December 21, 2022
               Completion of Claim Construction      February 8, 2023
18
               Discovery
19             Opening Claim Construction Brief      February 15, 2023
               Responsive Claim Construction Brief   March 15, 2023
20             Deadline to Amend Pleadings           March 15, 2023
               Claim Construction Hearing            TBD
21             Close of Fact Discovery               120 days following Markman
                                                     Order
22             Opening Expert Disclosures            30 days following close of fact
                                                     discovery
23             Responsive Expert Disclosures         45 days after service of Opening
                                                     disclosures
24
     JOINT PROPOSED CASE SCHEDULE - 1
     Civil Action No. 22-CV-00344-BJR
              Case 2:22-cv-00344-BJR Document 93-1 Filed 06/06/22 Page 2 of 2




 1             Reply Expert Disclosures           30 days following Response
                                                  disclosures
 2             Close of Expert Discovery          30 days following Reply
                                                  disclosures
 3             Dispositive Motion Cutoff          45 days following close of expert
                                                  discovery
 4             Trial                              TBD

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     JOINT PROPOSED CASE SCHEDULE - 2
     Civil Action No. 22-cv-00344-BJR
